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 7                   IN THE UNITED STATES DISTRICT COURT

 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )
                                   )         CR NO. S-07-289 LKK
11                  Plaintiff,     )         CR NO. S-07-170 LKK
                                   )         CR NO. S-07-428 LKK
12                                 )
               v.                  )         ORDER RE STATUS CONFERENCE
13                                 )
     JUAN CAMACHO,                 )
14                                 )
                    Defendant.     )
15   ______________________________)

16        On October 14, 2009, at 9:15 a.m., these matters came on for

17   a status conference.    The United States appeared through Assistant

18   United States Attorney Carolyn K. Delaney.        Defendant Juan Camacho

19   appeared with his attorney J. Toney, and was assisted by a Spanish

20   interpreter.

21        The government and the defendant agreed that a trial

22   confirmation hearing should be scheduled on January 26, 2010, with

23   a trial date of February 23, 2010, and that time should be

24   excluded until the trial date based on the need for defense

25   counsel to review the voluminous discovery and prepare (local code

26   T4), and in light of the Government’s stated intention to file a

27   motion to consolidate the matters for trial.

28        Accordingly, the Court entered the following orders:

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 1        For good cause shown, IT IS HEREBY ORDERED THAT:

 2        1.   The cases are scheduled for a trial confirmation hearing

 3   on January 26, 2010 and a trial on February 23, 2010.

 4        2.   The time between October 14, 2009 and February 23, 2010

 5   is excluded under the Speedy Trial Act pursuant to Local Code T4,

 6   Title 18, United States Code, Section 3161 (h)(7)(A), to give the

 7   defendant time to review the discovery and to adequately prepare.

 8   The Court specifically finds that the cases are complex and that a

 9   continuance is necessary to give the defendant reasonable time to

10   prepare for trial in these matters.      The Court finds that the ends

11   of justice served by granting a continuance outweigh the best

12   interest of the public and defendant in a speedy trial.

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14   DATE: October 19, 2009

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